Case 8:25-mj-01152-AAS Document1 Filed 01/30/25 Page 1of 20 PagelD 1

AQ 94 (Rev. HI/11} Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

United States of America )
Vv. } > S 2, ~
Pablo Zuniga Cartes; Ignacio Zuniga Cartes; Bastian ) Case n&el S mM) | | A AS
Jimenez Freraut; Jordan Quiroga Sanchez; Bastian )
Orellano Morales; Alexander Huiaguil Chavez; )
Sergio Ortego Cabello )
)
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 5, 2024 to Present inthe county of __Hillsborough (Multiple) __ in the
Middle District of Florida (and elsewhere) , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 371 Conspiracy to Commit Violations of 18 U.S.C. § 2314 (Interstate

Transportation of Stolen Property)

This criminal complaint is based on these facts:

See Affidavit.

% Continued on the attached sheet.

_ Me

Complainant's signature

SA Mark Sterling Dennis, FBI

Printed name and title

Sworn to before me over the telephone or other reliable electronic means and signed by me
pursuant to Fed. R. Crim. P. 4.1 and 4(d).

! {
Date: Doonan, 20, 205 i S
ielge 's signature

City and state: Tampa, FL AMANDA A, SANSONE, U.S. Magistrate Judge

Printed name and title

Case 8:25-mJ-01152-AAS Document1_ Filed 01/30/25 Page 2 of 20 PagelD 2

A. ORT OF AC AL COMPL.
I, Mark Sterling Dennis, being first duly sworn, hereby depose and state as
follows:
INTRODUCTION AND AGENT BACKGROUND
1. I submit this affidavit in support of a criminal complaint alleging that

(a) PABLO ZUNIGA CARTES (P. ZUNIGA CARTES);

(b) IGNACIO ZUNIGA CARTES (1. ZUNIGA CARTES);

(c) BASTIAN JIMENEZ FRERAUT (FRERAUT);

(d) JORDAN QUIROGA SANCHEZ (SANCHEZ);

(ec) BASTIAN ORELLANO MORALES (ORELLANA);

(f) ALEXANDER HUIAGUIL CHAVEZ (CHAVEZ); and

(s) SERGIO ORTEGA CABELLO (CABELLO),
(collectively, “the Defendants”) committed violations of Interstate Transportation of
Stolen Property and conspired to do the same in the Middle District of Florida and
elsewhere, all in violation of 18 U.S.C. §§ 371 and 2314. As described in further
detail below, the defendants and others known and unknown, conspired to
burglarize the homes of professional athletes around the country. One of these
burglaries occurred in the Middle District of Florida, one or more of the conspirators
resides in the Middle District of Florida, and one or more conspirators traveled to
and through the Middle District of Florida in furtherance of the conspiracy. I further
submit that the acts described within this affidavit were reasonably foreseeable to the

defendants.
Case 8:25-mj-01152-AAS Documenti- Filed 01/30/25 Page 3 of 20 PagelD 3

2. It is a violation of federal law to transport, transmit, or transfer in
interstate or foreign commerce any goods, wares, merchandise, securities or money,
of the value of $5,000 or more, knowing the same to have been stolen, converted or
taken by fraud. 18 U.S.C. § 2314. It is a separate federal crime to conspire to commit
acts in violation of 18 U.S.C. § 2314. See 18 U.S.C. § 371.

3. I am a Special Agent with the Federal Bureau of Investigation
(hereinafter, “FBI”). I have been employed with the FBI since September 2019. Iam
currently assigned to a unit that investigates criminal enterprises, organized crime,
and major theft out of the Tampa Field Office Lakeland Resident Agency. Prior to
being employed with the FBI, I was a police officer with the Sandy City Police
Department in Sandy, Utah, for approximately five years.

4. I have specialized training in narcotics identification, street-level drug
trafficking, surveillance, organized crime, and drug abatement techniques. I have
received training in criminal enterprise organizations, including attendance at in-
service trainings sponsored by the FBI and on-the-job training. I have participated in
investigations that utilized Title III investigations, telephone records, and Apple
iCloud accounts to effectively identify subjects and gather evidence. I have used
global positioning system (hereinafter, “GPS”) information obtained through mobile
phones to successfully locate persons who are the subjects of criminal investigations.
In addition, I have drafted and participated in the execution of dozens of search

warrants that resulted in valuable evidence collection and the seizure of narcotics and
Case 8:25-mj-01152-AAS Documenti Filed 01/30/25 Page 4 of 20 PagelD 4

assets. I am in regular contact with law-enforcement personnel who specialize in the
area of criminal enterprises and violent crimes.

5. The facts in this affidavit come from my personal observations, my
training and experience, and information obtained from other law enforcement
officers. This affidavit is intended to show merely that there is sufficient probable
cause for the requested warrant and does not set forth all of my knowledge about this

matter.

PROBABLE CAUSE

A. Overview of Investigation and Characteristics of South American Theft
Groups

6. The FBI is investigating a Chilean South American Theft Group
(“SATG”) that is responsible for several residential burglaries of high-profile athletes
in the National Football League (“NFL”), National Basketball Association
(“NBA”), and National Hockey League (“NHL”). The Chilean SATG is known to
travel throughout the United States and burglarize residences belonging to popular
and well-known professional athletes. The Chilean SATG is responsible for stealing
jewelry, expensive brand watches, United States currency, and other high-value
merchandise. Each of the burglaries described in this affidavit involved the thefts of
money and other items in excess of $5,000.

7. Due to my training and experience in this investigation and several
similar SATG investigations, I know that SATGs will commit their criminal acts

with associates and co-conspirators from the same country. Also, SATGs will divide
Case 8:25-mJ-01152-AAS Document1 Filed 01/30/25 Page 5 of 20 PagelID 5

out responsibilities to each member such as renting vehicles, obtaining hotels or
short-stay rentals, acquiring fraudulent identification, and contacting “fences”
(buyers) of the stolen merchandise. SATGs are well-coordinated organizations and
knowledgeable of law enforcement investigative techniques. SATGs often acquire
multiple cellular devices that have no accurate subscriber information, also known as
“throw phones.” SATGs will use the cellular devices for a short period of time,
sometimes less than a month, before discarding either the cellular device or SIM
card, thereby making it very difficult to attribute individual subjects to a particular
cellular device. Moreover, after committing their criminal acts, SATGs will contact a
buyer for the stolen merchandise and start negotiating a price. Often, the buyer will
pay in cash for the stolen merchandise to eliminate any methods of tracking
purchasing information such as receipts or bank transaction data. SATGs will then
funnel the money into their personal accounts or send it to associates, co-
conspirators, or family in their respective country. SATGs will often work together in
separate but similar groups, akin to individual cells. By separating in smaller groups
of four or five members, the SATG can target multiple victims, maximize their
profits, and continue to keep a low-profile while committing their criminal acts.
However, though burglary groups may consist of four to five members, these
separate groups often work in concert with one another, communicate with one
another, and liaise with the same buyers of stolen merchandise.

8. Through search warrants, subpoenaed information, and other evidence,

l identified that members of this SATG have committed burglaries in the Middle

4
Case 8:25-mj-01152-AAS Documenti- Filed 01/30/25 Page 6 of 20 PagelD 6

District of Florida and throughout the country. I further identified that members of
the SATG rent vehicles in Florida that are later found in the vicinity of burglaries
committed nationwide of prominent athletes.

9, Throughout this investigation, I identified that this Chilean SATG has a
clear and consistent modus operandi. The Chilean SATG is known to target high-
profile professional athletes while they are known to be away from home. In many
circumstances, professional sports teams will publicize their schedules and locations
of their games, making it easy for the SATG to know when a particular athlete on a
particular professional sport team will be away from his residence. Also, this SATG
will approach the residences from cover such as, but not limited to, a wooded or dark
area. The SATG will then break into the residence by breaking a window or using a
crowbar to open a sliding door. The SATG enters the residence and steals jewelry, —
expensive watches, United States currency, and expensive merchandise. On at least
one occasion, described below, the SATG stole the safe from a professional athlete’s
home and opened the safe at a separate location. This SATG uses “throw phones”
that do not have any accurate subscriber information linked to them. Members of the
SATG will use the cellular devices for about one month before switching cellular
devices or SIM cards to continue to thwart law enforcement.

B. Burglary of Tampa Bay Buccaneers Player on October 21, 2024

10. Onor about October 21, 2024, between the hours of 6:30 p.m. and

10:30 p.m., a residential burglary occurred at Location 1 in Tampa, in the Middle

District of Florida. Professional Athlete 1, a Tampa Bay Buccaneers football player
5
Case 8:25-mjJ-01152-AAS Document1 Filed 01/30/25 Page 7 of 20 PagelD 7

in the NEL, is the owner of Location 1. At the time of the burglary, the Tampa Bay
Buccaneers were playing the Baltimore Ravens at Raymond James Stadium in
Tampa.

11. The unknown subjects broke through a window at Location 1 to gain
entry. Upon entering, the defendants and others stole multiple pieces of expensive
jewelry, Rolex watches, a Louis Vuitton suitcase, and a firearm. The total value of
property stolen was approximately $167,000.00.

12. As described in further detail below, I served search warrants for cell
tower and Apple iCloud information associated with multiple burglaries. Through
the returns of those search warrants I believe that PABLO ZUNIGA CARTES (P.
ZUNIGA CARTES) was a participant in this burglary. A cellular device that was
later attributed to him was in the vicinity of Location 1 at the time of the burglary, as
well as at least one other burglary described below. Moreover, photographs obtained
from the iCloud account of P. ZUNIGA CARTES show him and others with the
jewelry of Professional Athlete 4 within minutes of his being burglarized, described
in further detail later in this affidavit.

13.  l also identified a phone number in the vicinity of Location I at the
time of the burglary that, from Apple iCloud information, is for a phone number
ending in 2875 (“the 2875 number”) assigned to a subject saved as “Luis.” That

number was also in the vicinity of Location 5, described later in the affidavit.
Case 8:25-mjJ-01152-AAS Documenti1 Filed 01/30/25 Page 8 of 20 PagelD 8

C. Burglary of Kansas City Chiefs Players on October 5 and 7, 2024

14. On October 23, 2024, I learned of three residential burglaries in the
Kansas City, Missouri area earlier in the month. In my review of those burglaries,
two of them matched the modus operandi of Professional Athlete 1’s burglary, in that
they targeted high-profile professional athletes when it was publicly known that the
athletes would not be home. Moreover, the burglars accessed the residences ina
similar manner to the burglary of Location 1, and stole similar items such as jewelry,
watches, cash, and other luxury merchandise.

15. Onor about October 5 and 7, 2024, there were residential burglaries of
Locations 2 and 3, the homes of Professional Athletes 2 and 3 respectively. The first
burglary was at Location 2 on October 5, and then Location 3 on October 7. The
total value of the stolen property at each location was greater than $5,000. Both
Professional Athletes 2 and 3 are Kansas City Chiefs football players in the NFL. On
the night of October 7, 2024, the Kansas City Chiefs played the New Orleans Saints
in a Monday Night Football game at GEHA Field at Arrowhead Stadium in Kansas
City, Missouri.

16. On November 1, 2024, United States Magistrate Judge Lindsay Griffin,
Middle District of Florida, signed a search warrant for cellular tower data from the
Professional Athlete 1 burglary. Investigators also obtained cell tower data from the
burglaries of the homes of Professional Athletes 2 and 3. Based on the data obtained
from these warrants, as well as other corroborating information below, I believe the

burglaries in Tampa and Kansas City were related.

7
Case 8:25-mJ-01152-AAS Documenti_ Filed 01/30/25 Page 9 of 20 PagelD 9

D. Burglary of Milwaukee Bucks Player on November 2, 2024

17. Onor about November 2, 2024, between approximately 6:56 p.m. and
7:10 p.m., a residential burglary occurred at the residence of Professional Athlete 4 at
Location 4 in Wisconsin. Professional Athlete 4 plays for the Milwaukee Bucks in
the NBA. On the night of the burglary, the Milwaukee Bucks played the Cleveland
Cavaliers at the Fiserv Forum in Milwaukee.

18. Surveillance video from the burglary captured two subjects breaking a
bedroom window and making entry into the residence. The two subjects stole a safe
containing several watches, chains, personal items, jewelry, and cash. Also stolen
was a Louis Vuitton suitcase and designer bags. The total value of property stolen
was approximately $1,484,000.

19. Onorabout November 7, 2024, Milwaukee County Circuit Court
Judge Laura A. Crivello signed a search warrant for cellular tower data surrounding
the burglary timeframe.

E. Initial Analysis of Cell-Tower Data and Identification of iCloud Data

20. Onor about November 21, 2024, I reviewed the search warrant returns
for the cellular tower data from the burglaries in Tampa and Wisconsin, From my
review of the data, I learned that an International Mobile Subscriber Identifier
number was linked to a cellular device that was present during the surrounding
timeframes of the burglaries for Professional Athletes 1 and 4 “(the IMSI Number”).

21. The IMSI Number was linked to an International Mobile Equipment

Number (the “IMEI Number”), which is another unique identifier for a cellular
8
Case 8:25-mJ-01152-AAS Documenti_ Filed 01/30/25 Page 10 of 20 PagelD 10

device. Subscriber information obtained for the IMEI Number from Apple, Inc.
(“Apple”) revealed that it was associated with an iCloud account of interest (“the
iCloud Account”).

22. On November 25, 2024, I served a search warrant for the location data,
data sessions, and subscriber information for the IMSI Number that was observed in
the areas of Locations 1 and 4 during the timeframes of the burglaries.

23. The following day I received the search warrant return. I reviewed the
return and learned that the IMSI Number was associated with a Florida cellular
telephone number (the “2027 Number”). The 2027 Number was also associated with
the IMEI Number.

24. On December 3, 2024, United States Magistrate Judge Anthony
Porcelli, Middle District of Florida, authorized a search warrant for the iCloud
Account.

F. Burglary of Cincinnati Bengals Player on December 9, 2024

25. Onor about December 9, 2024, police responded to a residential
burglary at the home of Professional Athlete 5 at Location 5 in Cincinnati, Ohio.
Professional Athlete 5 plays for the Cincinnati Bengals in the NEL. On the night of
the burglary, the Cincinnati Bengals were playing the Dallas Cowboys in a Monday
Night Football game at AT&T Stadium in Arlington, Texas.

26. The burglars stole from Location 5 designer luggage, glasses, watches,

and jewelry valued at about $300,000.
Case 8:25-mj-01152-AAS Documenti Filed 01/30/25 Page 11 of 20 PagelD 11

27. Based on my knowledge of the investigation, I believe that the burglary
occurred between 6:00 p.m. and 8:14 p.m. on the evening of December 9, 2024.
Professional Athlete 5 left his residence the previous day to fly to Dallas, Texas, and
a security detail was deployed to watch the residence while he was gone. On
December 9, 2024, at about 6:00 p.m., a shift change occurred with the security
detail. This shift change included a walk around the perimeter of the house, during
which no windows appeared to have been broken. After 6:00 p.m., and during the
timeframe of the burglary, the security detail was positioned in the driveway of the
front of the residence. I believe that the burglars entered the rear of the property from
a wooded area where no security cameras were located.

G. Burglary of Memphis Grizzlies Player on December 9, 2024

28. Between on or about December 19, 2024, at about 4:00 p.m. and
December 20, 2024, at about 1:00 a.m., a burglary occurred at the home of
Professional Athlete 6 at Location 6 in Tennessee. Professional Athlete 6 plays for
the Memphis Grizzlies in the NBA. At the time of the burglary, the Memphis
Grizzlies were playing the Golden State Warriors at the FedExForum in Memphis,
Tennessee.

29. The burglars stole from Location 6 jewelry, watches, and luxury bags
valued at about $1,000,000.

H. Identification of Defendants
30. Onor about December 17, 2024, United States Magistrate Judge Karen

L. Litkovitz authorized a search warrant for cellular tower data surrounding the

10
Case 8:25-my-01152-AAS Document1 Filed 01/30/25 Page 12 of 20 PagelD 12

timeframe of the burglary, as well as for various license plate reader (LPR) cameras
and a McDonald’s in Miami, FL.

31. After reviewing the records described above, I learned of four suspected
T-Mobile accounts and two suspected AT&T accounts identified through their IMSIs
and IMEIs that connected to cellular telephone towers at key locations, to include
Location 5, a Cincinnati-area LPR, a Jeffersonville, Indiana LPR, and a McDonald’s
in Miami, Florida where a rental vehicle was abandoned.

32. Law enforcement identified the suspect vehicle used in the burglary of
Location 5 in Ohio as a white 2024 Volkswagen Atlas bearing Florida tag
“RDDR37.” The white 2024 Volkswagen Atlas was rented in South Florida.
According to rental information for the car, I learned that the renter used a
fraudulent Argentinean identification card to secure the use of the vehicle. I believe,
based on my review of the photo, that the person depicted in the Argentinean
driver’s license was CABELLO. Based on my training, experience, and knowledge of
the investigation, I believe that CABELLO used fake identification to rent the
Volkswagen Atlas, crossed state lines with one or more coconspirators to burglarize
Location 5, then returned in interstate commerce—and through the Middle District
of Florida—to abandon the vehicle in furtherance of the charged conspiracy. Below
are photos, clockwise from top left, of CABELLO’s fake identification, a photo of
him taken by the car rental company (driver’s seat), and on the day of his arrest

earlier this month.

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Case 8:25-mjJ-01152-AAS Document1i Filed 01/30/25 Page 13 of 20 PagelD 13

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33. On January 3, 2025, United States Magistrate J udge Thomas G.
Wilson, Middle District of Florida, signed a search warrant for cellular tower data
and prospective location data of the four suspected T-Mobile devices described
above. Upon serving this search warrant, I learned that one of the cellular telephone
numbers (“the 9991 Number”) was active and was located in the Dayton, Ohio area.

34. On January 6, 2025, I received records from Apple for the iCloud
Account described earlier in this affidavit. Upon reviewing the records, I observed

photographs of four Hispanic males with several watches, necklaces, a ring, a

12
Case 8:25-mJ-01152-AAS Documenti1 Filed 01/30/25 Page 14 of 20 PagelD 14

damaged safe, and burglary tools. Based on the layout of the room and the air
conditioning unit in the background, I believe this photo was taken at a hotel near

Location 4. Below I have included a few of the photographs from the iCloud

Account.

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35. lL identified three of the four subjects in this photo as P. ZUNIGA

CARTES), IGNACIO ZUNIGA CARTES (I. ZUNIGA CARTES), and BASTIAN
JIMENEZ FRERAUT (FRERAUT). The redacted person in the photo is

unidentified. I believe the owner of the phone was P, ZUNIGA CARTES and that

13
Case 8:25-mjJ-01152-AAS Document1i Filed 01/30/25 Page 15 of 20 PagelD 15

he is holding the phone in his right hand in the above picture while photographing
his coconspirators.

36. The above photograph had a timestamp of 7:18 p.m. on November 2,
2024, at approximately 7:18 p.m., just minutes after the burglary of Professional
Athlete 4’s home. In the photograph, several high-value watches and a damaged safe
are observable. The high-value watches in the above photograph are consistent with
the inventory of watches stolen from Location 4, Furthermore, the Hispanic male
subject on the right-side of the photograph is wearing a necklace consistent with one
stolen from Location 4.

37, Also of note is that P. ZUNIGA CARTES is wearing a Kansas City
Chiefs shirt in the photo. Consistent with the conspirators boasting about the
burglary of Professional Athlete 4, I believe based on my training, experience, and
knowledge of the investigation that P. ZUNIGA CARTES is referring to the group’s
earlier burglaries in Kansas City of Professional Athletes 2 and 3. In my training and
experience, SATG members often brag about their thefts to other SATG members. I
believe that P. ZUNIGA CARTES, I. ZUNIGA CARTES, FRERAUT, and the
unidentified subject were bragging to coconspirators about their recent burglary of

Professional Athlete 4.

14
Case 8:25-mJ-01152-AAS Document1i Filed 01/30/25 Page 16 of 20 PagelD 16

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38. The BDO pest caph had iimestampror tS p.m. on Neventbi 2s
2024, again just a few minutes after the burglary of Location 4. In the photograph are
high-value watches, a pendant, and a ring consistent with the inventory of items
stolen from Location 4. Moreover, a yellow crowbar and a wooden and black rubber
mallet are visible on the bed. In my training and experience, the crowbar and mallet
are common burglary tools used to pry open a safe.

39, Based on my training, experience, and knowledge of the investigation, I

believe that P. ZUNIGA CARTES, I. ZUNIGA CARTES, F RERAUT, and an

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Case 8:25-mj-01152-AAS Document1i Filed 01/30/25 Page 17 of 20 PagelD 17

unidentified coconspirator burglarized Location 4, returned to a nearby hotel, and
took pictures with the items they stole from Professional Athlete 4 after prying the
stolen safe open.

40. On January 10, 2025, I provided FBI Cincinnati and other local law
enforcement with the location data for the 9991 Number pursuant to a search
warrant obtained in the Middle District of Florida. FBI Cincinnati and local law
enforcement used the location data for the 9991 Number and located a suspect
vehicle identified as a black 2021 Chevrolet Trailblazer bearing Florida tag
“87BHHC.”

41. Law enforcement conducted surveillance on the Chevrolet Trailblazer
and observed four Hispanic males entering it. Officers executed a traffic stop on the
vehicle and identified the occupants as JORDAN QUIROGA SANCHEZ
(SANCHEZ), BASTIAN ORELLANA MORALES (ORELLANA),
ALEXANDER HUAIGUIL CHAVEZ (CHAVEZ), and SERGIO ORTEGA
CABELLO (CABELLO).

42. During the traffic stop, officers discovered SANCHEZ, ORELLANA,
CHAVEZ, and CABELLO to be in possession of several fraudulent identifications
and burglary tools. SANCHEZ, ORELLANA, CHAVEZ, and CABELLO were
arrested and charged with four Ohio State offenses (participating in a criminal gang,
obstructing official business, possessing criminal tools, and engaging in a pattern of

corrupt activity and conduct). Their cellular telephones were seized. The officers

16.
Case 8:25-mj-01152-AAS Documenti Filed 01/30/25 Page 18 of 20 PagelD 18

identified each cellular telephone, its respective phone number, and the possessor of
each phone. The cellular telephone with the 9991 Number belonged to SANCHEZ.

43. On January 15, 2025, United States Magistrate Judge Sean Flynn,
Middle District of Florida, authorized a search warrant for several Apple iCloud
accounts associated with cellular telephone numbers identified to belong to subjects
of this investigation. Upon receipt of the Apple iCloud accounts, I observed a
photograph associated with an Apple iCloud account believed to be associated with
ORELLANA. The photograph depicted a United State Postal Service (“USPS”)
package being sent from Individual 1 in Los Angeles, California to BASTIAN
ORELLANA (ORELLANA) with a residential address in Orlando, in the Middle
District of Florida. The phone number listed on the USPS package receipt for
ORELLANA was a number ending in 6972 (“the 6972 Number”). This was the
same number associated with the phone in ORELLANA’s possession when arrested
in Ohio.

44, Using the location data for the 9991 Number associated with
SANCHEZ, I learned that it had connected to cellular telephone towers in the
vicinity of Location 6 during the timeframe of the burglary. Law enforcement further
identified that the 9991 Number connected with a cellular telephone tower in the
vicinity of the Days Inn located at 943 East Commerce Street, Hernando,
Mississippi. Rental records from the Days Inn revealed that CHAVEZ rented a room
there and provided a New York driver's license as a method of identification.

CHAVEZ used a TD Bank Visa credit card to rent the room and was seen further

17
Case 8:25-mj-01152-AAS Document1 Filed 01/30/25 Page 19 of 20 PagelD 19

identified on the hotel’s security cameras. Based on my training, experience, and
knowledge of the investigation, I believe that CHAVEZ rented the Days Inn hotel
room in furtherance of the conspiracy—specifically, as a safe location for the burglars
to return to after burglarizing Location 6. I further believe that SANCHEZ,
ORELLANO, and CABELLO comprise other members of this burglary group.
CABELLO also has rented at least one vehicle in Florida that traveled to Ohio and
back to Miami, passing through the Middle District of Florida, where it was
abandoned. I believe this vehicle was associated with the burglary of Location 5.

45. Lhave reviewed additional records from the return of iCloud warrants.
Of note in the returns is that there are a limited number of contacts saved. However,
both sets of burglars have a common contact referred to as “T uis” using the 2875
number. The cellular telephone bearing this number was in the vicinity of Location 1
at the time of the burglary there, as well as near Location 5 during that burglary.
Based on my training, experience, and knowledge of the investigation, I believe that
this common contact, separate and distinct from the other numbers and individuals
identified thus far, is further illustrative that the groups responsible for the burglaries
at Locations 1 through 6 are interrelated and the acts described above are in
furtherance of the charged conspiracy.

CONCLUSION UTHORIZATION REQUES

46. Inconclusion, based upon my training, experience, and knowledge of

the investigation I believe that the Defendants are all members of a SATG that has

conspired to commit violations of 18 U.S.C. § 2314, all in violation of 18 U.S.C. §

18
Case 8:25-mj-01152-AAS Document1 Filed 01/30/25 Page 20 of 20 PagelD 20

371. At least one burglary occurred in the Middle District of Florida, involving
P.ZUNIGA CARTES and a person identified in contacts as “Luis.” The participants
in the burglaries are interrelated. On at least one occasion, a conspirator rented a
vehicle in Florida using a false identification, transported it across state lines for one
of the burglaries, then returned it in Florida while traversing the Middle District of
Florida.

47. Based on the foregoing, I submit that there is probable cause to believe
that the Defendants have violated 18 U.S.C. §§ 371 and 2314 (Interstate
Transportation of Stolen Property and Conspiracy). I declare under penalty of

perjury under the laws of the United States of America that the forgoing is true and

MD.

Mark Sterling Dennis
Special Agent
Federal Bureau of Investigation

correct.

Affidavit submitted to me by reliable electronic means and attested to me as true and
accurate by telephone or other reliable electronic means consistent with Fed. R.
Crim. P. 4.1 and 41(d)(3) this .30_ day of January, 2025.

rt MN
Apraacle Lill Sous
AMANDA A LD SANSONE

United States Magistrate Judge

19
